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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


FEDERAL TRADE COMMISSION

STATE OF CALIFORNIA
                                                              Case No. 23-cv-03053
STATE OF ILLINOIS

STATE OF MINNESOTA

STATE OF NEW YORK

STATE OF WASHINGTON

and

STATE OF WISCONSIN,

                                Plaintiffs,

                    v.

AMGEN INC.

and

HORIZON THERAPEUTICS PLC,

                                Defendants.



  PLAINTIFF FEDERAL TRADE COMMISIONS’S UNOPPOSED MOTION FOR AN
        ORDER DIRECTING THE FILING OF PLAINTIFFS’ AMENDED
                      COMPLAINT UNDER SEAL

        Plaintiff the Federal Trade Commission (the “Commission”) respectfully moves the

Court for an order, pursuant to Rules 5 and 7(b) of the Federal Rules of Civil Procedure and

Local Civil Rules 5.8 and 26.2, directing the Clerk of the Court to file under seal, until further

order, Plaintiffs’ Amended Complaint for Temporary Restraining Order and Preliminary
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Injunction Pursuant to Section 13(b) of the Federal Trade Commission Act and Section 16 of the

Clayton Act.

       Plaintiffs filed this action pursuant to Section 13(b) of the Federal Trade Commission

Act, 15 U.S.C. 53(b), and Section 16 of the Clayton Act, seeking to preliminary enjoin

Defendant Amgen Inc. (“Amgen”) from consummating the proposed acquisition (the

“Acquisition”) of Defendant Horizon Therapeutics PLC (“Horizon”). Plaintiffs’ Amended

Complaint includes potentially sensitive business information provided to the Commission by

Defendants during the Commission’s investigation of the Acquisition. Defendants produced this

information to the Commission with the expectation that the Commission would maintain its

confidentiality. Until now, the Commission has protected these materials from public disclosure

by virtue of various statutory and regulatory provisions, including 15 U.S.C. §§ 18a(h), 46(f),

57b-2(b),(c), and 16 C.F.R. §§ 4.10(d) and (g).

       Consistent with the governing statutes and regulations, the Commission’s practice is to

file such documents, and any information derived from them, under seal and to notify the

producing party that the documents containing this information have been filed under seal.

Accordingly, the Commission respectfully requests that the Court enter the attached order

granting leave to file the foregoing documents under seal until further order. The Commission

consulted with Defendants in this matter and can represent that the motion to seal is unopposed.




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Dated: June 22, 2023                        Respectfully submitted,

                                            /s/ Nathan Brenner
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